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            ATTACHMENT A
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                                      PLAINTIFFS' CHART OF CONTRACTS
TrialExhibit#           DocID                 EndDoc                   Ex. Description                    Ex. Date
                                                Apple-OpenAI
                APLGOOGDOJ-01166827   APLGOOGDOJ-01166878 Apple-OpenAI Service Integration             2024.05.04
  PXR0501                                                    Agreement
                                             DuckDuckGo-Microsoft
                DuckDuckGo-00685277   DuckDuckGo-00685319    DuckDuckGo-Microsoft Amended and          2022.05.24
  PXR0502                                                    Restated Bing Services Master Agreement
                DuckDuckGo-00685320   DuckDuckGo-00685322       DuckDuckGo-Microsoft Amendment No. 1 2024.02.01
  PXR0503                                                       to Amended and Restated Bing Services
                                                                Master Agreement
                DuckDuckGo-00685323   DuckDuckGo-00685324       DuckDuckGo-Microsoft Amendment No. 2 2024.05.30
  PXR0504                                                       to Amended and Restated Bing Services
                                                                Master Agreement
                                                Google-Apple
                GOOG2-00000026        GOOG2-00000030         Google-Apple Technology Evaluation        2023.03.14
  PXR0507                                                    Supplement
                GOOG2-00000039        GOOG2-00000043            Google-Apple Second Technology         2024.08.16
  PXR0506                                                       Evaluation Supplement
                APLGOOGDOJ-01166886   APLGOOGDOJ-01166893       Google-Apple Google Lens Addendum to   2024.08.31
  PXR0505                                                       the Information Services Agreement
                                               Google-AT&T
                ATTGOOG_REMEDY-       ATTGOOG_REMEDY-      Google-AT&T Mobility LLC Mobile             2021.06.02
  PXR0508       021334                021361               Services Incentive Agreement
                GOOG2-00000001        GOOG2-00000002            Google-AT&T Amendment No.2 to the      2022.07.12
  PXR0509                                                       Google Mobile Services Incentive
                                                                Agreement
                GOOG2-00000003        GOOG2-00000005            Google-AT&T Amendment No.3 to the      2022.12.16
  PXR0510                                                       Google Mobile Services Incentive
                                                                Agreement
                GOOG2-00000006        GOOG2-00000007            Google-AT&T Amendment No.4 to the      2023.05.05
  PXR0511                                                       Google Mobile Services Incentive
                                                                Agreement
                GOOG2-00000008        GOOG2-00000022            Google-AT&T Amendment No. 5 to the     2024.05.30
  PXR0512                                                       Google Mobile Services Incentive
                                                                Agreement
                GOOG2-00000023        GOOG2-00000024            Google-AT&T Amendment to the Google    2024.05.31
  PXR0513                                                       Mobile Revenue Share Agreement
                GOOG-DOJ-33811114     GOOG-DOJ-33811118         Google-AT&T Amendment to the Google    2024.12.12
  PXR0514                                                       Mobile Services Incentive Agreement
                GOOG-DOJ-33811119     GOOG-DOJ-33811125         Google-AT&T Amendment to the Google    2024.12.13
  PXR0515                                                       Mobile Revenue Share Agreement
                GOOG2-00005035        GOOG2-00005036            Google-AT&T Google Mobile Revenue      2025.04.16
  PXR0606                                                       Share Agreement Waiver
                                                 Google-IAC
  PXR0516       GOOG-DOJ-13125214     GOOG-DOJ-13125280       Google-IAC Google Services Agreement     2015.10.26
                                                Google-Lenovo
                GOOG2-00000177        GOOG2-00000178          Google-Lenovo Amendment Three to         2023.02.07
  PXR0517                                                     Google Mobile Incentive Agreement
                GOOG2-00000283        GOOG2-00000284            Google-Lenovo Amendment to the Mobile 2023.03.29
  PXR0518                                                       Application Distribution Agreement
                GOOG2-00000179        GOOG2-00000180            Google-Lenovo Amendment Four to        2023.03.30
  PXR0519                                                       Google Mobile Incentive Agreement
                GOOG2-00000160        GOOG2-00000161            Google-Lenovo Amendment Five to Google 2023.05.31
  PXR0520                                                       Mobile Incentive Agreement
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                                PLAINTIFFS' CHART OF CONTRACTS
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              GOOG2-00000128    GOOG2-00000136        Google-Lenovo Amendment to the Mobile 2023.06.27
  PXR0521                                             Application Distribution Agreement
            GOOG2-00000162      GOOG2-00000173            Google-Lenovo Amendment Six to Google 2023.08.28
 PXR0522                                                  Mobile Incentive Agreement
            GOOG2-00000174      GOOG2-00000176            Google-Lenovo Amendment Seven to        2024.01.08
 PXR0523                                                  Google Mobile Incentive Agreement
            GOOG2-00000181      GOOG2-00000181            Google-Lenovo Amendment to Mobile       2024.01.19
 PXR0524                                                  Application Distribution Agreement
            GOOG2-00000049      GOOG2-00000049            Google-Lenovo Amendment to European 2024.01.24
 PXR0525                                                  Mobile Application Distribution Agreement

            GOOG2-00000157      GOOG2-00000157            Google-Lenovo Amendment to the Google 2024.01.25
 PXR0526                                                  Search and Chrome European Placement
                                                          Agreement
            GOOG2-00000271      GOOG2-00000272            Google-Lenovo Amendment to the Chrome 2024.01.31
 PXR0527                                                  European License Agreement
            GOOG2-00000282      GOOG2-00000282            Google-Lenovo Amendment to the Google 2024.02.01
 PXR0528                                                  Search European License Agreement
            GOOG2-00000217      GOOG2-00000228            Google-Lenovo Chrome European License 2024.04.22
 PXR0529                                                  Agreement
            GOOG2-00000054      GOOG2-00000090            Google-Lenovo European Mobile           2024.04.22
 PXR0530                                                  Application Distribution Agreement
                                                          (EMADA)
            GOOG2-00000229      GOOG2-00000243            Google-Lenovo Google Search and Chrome 2024.04.22
 PXR0531                                                  European Placement Agreement
            GOOG2-00000244      GOOG2-00000256            Google-Lenovo Google Search European    2024.04.22
 PXR0532                                                  License Agreement
            GOOG2-00000182      GOOG2-00000216            Google-Lenovo Mobile Application        2024.04.22
 PXR0533                                                  Distribution Agreement (MADA)
            GOOG2-00000292      GOOG2-00000294            Google-Lenovo Amendment Eight to        2024.05.03
 PXR0534                                                  Google Mobile Incentive Agreement
            GOOG2-00001063      GOOG2-00001086            Google-Lenovo Google One AI Premium     2024.06.25
 PXR0535                                                  OEM Promotion Agreement
            GOOG2-00000137      GOOG2-00000145            Google-Lenovo Amendment to the           2024.06.26
 PXR0536                                                  European Mobile Application Distribution
                                                          Agreement
 PXR0537    GOOG2-00000273      GOOG2-00000281            Google-Lenovo Marketing Agreement       2024.06.28
            GOOG2-00001050      GOOG2-00001062            Google-Lenovo Circle to Search          2024.10.04
 PXR0538                                                  Enablement Agreement
            GOOG-DOJ-34926003   GOOG-DOJ-34926009         Google-Lenovo Amendment #1 to           2024.12.04
 PXR0539                                                  Marketing Agreement
            GOOG-DOJ-34925192   GOOG-DOJ-34925194         Google-Lenovo Amendment Nine to         2025.02.05
 PXR0540                                                  Google Mobile Incentive Agreement
            GOOG-DOJ-34925195   GOOG-DOJ-34925201         Google-Lenovo Amendment Ten to Google 2025.02.07
 PXR0541                                                  Mobile Incentive Agreement
            GOOG-DOJ-34925673   GOOG-DOJ-34925678         Google-Lenovo Amendment #2 to           2025.02.11
 PXR0542                                                  Marketing Agreement
                                         Google-Motorola
 PXR0543    GOOG-DOJ-34925653   GOOG-DOJ-34925672       Google-Motorola Gemini Fund Agreement 2025.02.10
            GOOG2-00005037      GOOG2-00005038          Google-Motorola Google Mobile Incentive 2025.04.16
 PXR0607                                                Agreement Waiver
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                                    PLAINTIFFS' CHART OF CONTRACTS
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                                              Google-Mozilla
                MOZ-LIT-045756      MOZ-LIT-045767           Google-Mozilla Amendment No. 8 to         2023.01.31
  PXR0544                                                    Sponsorship Agreement
                MOZ-LIT-045515      MOZ-LIT-045523            Google-Mozilla Gemini Service            2024.06.23
  PXR0545                                                     Distribution Test Agreement
                GOOG2-00005075      GOOG2-00005075            Email from Eric Muhlheim (Mozilla) to    2025.03.13
  PXR0370                                                     Neal Pancholi (Google), Sponsorship
                                                              Agreement Extension
                                              Google-Opera
                OPERA_00006297      OPERA_00006328         Google-Opera Amended and Restated Pilot 2024.07.12
  PXR0546                                                  LLM Sponsorship Agreement
                OPERA_00006417      OPERA_00006420            Google-Opera Amendment No. 1 to          2024.08.15
  PXR0547                                                     Amendment and Restatement Agreement
                OPERA_00006421      OPERA_00006423            Google-Opera Amendment No. 2 to          2024.10.14
  PXR0548                                                     Amendment and Restatement Agreement
                OPERA_00006424      OPERA_00006425            Google-Opera Amendment No. 3 to          2024.11.26
  PXR0549                                                     Amendment and Restatement Agreement
                                             Google-Samsung
                GOOG-DOJ-10972526   GOOG-DOJ-10972561      Google-Samsung European Mobile              2019.02.27
  PXR0550                                                  Application Distribution Agreement
                                                           (EMADA)
                GOOG-DOJ-10972509   GOOG-DOJ-10972519         Google-Samsung Google Search European 2019.02.27
  PXR0551                                                     License Agreement
                GOOG2-00000399      GOOG2-00000401            Google-Samsung Amendment to the          2022.05.13
  PXR0552                                                     European Mobile Application Distribution
                                                              Agreement
                GOOG2-00000331      GOOG2-00000333            Google-Samsung Amendment to the           2022.05.13
  PXR0553                                                     Mobile Application Distribution Agreement

                GOOG2-00000334      GOOG2-00000339            Google-Samsung Amendment to the           2022.12.29
  PXR0554                                                     Mobile Application Distribution Agreement

                GOOG2-00000359      GOOG2-00000360            Google-Samsung Amendment to the          2022.12.30
  PXR0555                                                     Chrome European License Agreement
                GOOG2-00000406      GOOG2-00000416            Google-Samsung Amendment to the          2022.12.30
  PXR0556                                                     European Mobile Application Distribution
                                                              Agreement
                GOOG2-00000363      GOOG2-00000369            Google-Samsung Amendment to the          2022.12.30
  PXR0557                                                     Google Search and Chrome European
                                                              Placement Agreement
                GOOG2-00000417      GOOG2-00000419            Google-Samsung Amendment No. 1 to the 2023.01.11
  PXR0558                                                     Go-To-Market (GTM) Incentive Payments
                                                              Pool Agreement
                GOOG2-00000420      GOOG2-00000443            Google-Samsung Circle to Search          2023.12.21
  PXR0559                                                     Commercial Agreement
                GOOG2-00000316      GOOG2-00000320            Google-Samsung Amendment to the          2024.01.05
  PXR0560                                                     European Mobile Application Distribution
                                                              Agreement
                GOOG2-00000386      GOOG2-00000392            Google-Samsung Amendment to the          2024.01.05
  PXR0561                                                     Google Search and Chrome European
                                                              Placement Agreement
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                                 PLAINTIFFS' CHART OF CONTRACTS
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              GOOG2-00000444     GOOG2-00000445        Google-Samsung Amendment to the           2024.01.05
  PXR0562                                              Mobile Application Distribution Agreement

            GOOG2-00000380       GOOG2-00000381            Google-Samsung Amendment to the          2024.01.08
 PXR0563                                                   Chrome European License Agreement
            GOOG2-00000382       GOOG2-00000383            Google-Samsung Amendment to the          2024.01.08
 PXR0564                                                   Google Search European License
                                                           Agreement
            GOOG2-00000327       GOOG2-00000330            Google-Samsung AICore Addendum to        2024.02.19
 PXR0565                                                   EMADA
            GOOG2-00000446       GOOG2-00000449            Google-Samsung AICore Addendum to        2024.02.20
 PXR0566                                                   MADA
            GOOG2-00000340       GOOG2-00000341            Google-Samsung Amendment to the          2024.06.26
 PXR0567                                                   Google Mobile Revenue Share Agreement
            GOOG2-00000453       GOOG2-00000454            Google-Samsung Amendment to the          2024.06.26
 PXR0568                                                   Google Mobile Services Incentive
                                                           Agreement
            GOOG2-00000455       GOOG2-00000457            Google-Samsung Amendment to the Go-To- 2024.06.26
 PXR0569                                                   Market (GTM) Incentive Payments Pool
                                                           Agreement
            GOOG-DOJ-33743393    GOOG-DOJ-33743395         Google-Samsung Amendment to the          2024.11.16
 PXR0570                                                   Google Mobile Revenue Share Agreement
            GOOG-DOJ-33743363    GOOG-DOJ-33743392         Google-Samsung Gemini Commercial         2024.11.16
 PXR0571                                                   Agreement
            GOOG-DOJ-33743232    GOOG-DOJ-33743283         Google-Samsung Google Mobile Revenue     2024.11.16
 PXR0572                                                   Share Agreement
            SEA-DOJ-REM0001074   SEA-DOJ-REM0001129        Google-Samsung Google Mobile Services    2024.11.16
 PXR0573                                                   Incentive Agreement
            GOOG-DOJ-33743340    GOOG-DOJ-33743362         Google-Samsung Go-To-Market (GTM)        2024.11.16
 PXR0574                                                   Incentive Payments Pool Agreement
            GOOG2-00005020       GOOG2-00005021            Google-Samsung Amendment to the          2024.12.30
 PXR0575                                                   Chrome European License Agreement
            GOOG2-00005033       GOOG2-00005034            Google-Samsung Amendment to the          2024.12.30
 PXR0576                                                   European Mobile Application Distribution
                                                           Agreement
            GOOG2-00005030       GOOG2-00005032            Google-Samsung Amendment to the          2024.12.30
 PXR0577                                                   Google Search and Chrome European
                                                           Placement Agreement
            GOOG2-00005022       GOOG2-00005023            Google-Samsung Amendment to the          2024.12.30
 PXR0578                                                   Google Search European License
                                                           Agreement
            GOOG-DOJ-34811958    GOOG-DOJ-34811959         Google-Samsung Amendment to the           2024.12.30
 PXR0579                                                   Mobile Application Distribution Agreement

            GOOG2-00005028       GOOG2-00005029            Google-Samsung Amendment to the          2025.02.26
 PXR0580                                                   AICore Addendum to the MADA
            GOOG2-00005039       GOOG2-00005039            Google-Samsung Google Mobile Revenue     2025.04.19
 PXR0608                                                   Share Agreement
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                                                   Google-T-Mobile

                GOOG2-00000617           GOOG2-00000617            Google-T-Mobile Amendment No. 5 to the 2022.09.30
  PXR0581                                                          Google Mobile Services Incentive
                                                                   Agreement
                GOOG2-00000618           GOOG2-00000618            Google-T-Mobile Amendment No. 6 to the 2022.12.09
  PXR0582                                                          Google Mobile Services Incentive
                                                                   Agreement
                GOOG2-00000615           GOOG2-00000615            Google-T-Mobile Amendment No. 7 to the 2023.01.30
  PXR0583                                                          Google Mobile Services Incentive
                                                                   Agreement
                GOOG2-00000616           GOOG2-00000616            Google-T-Mobile Amendment No. 8 to the 2023.04.25
  PXR0584                                                          Google Mobile Services Incentive
                                                                   Agreement
                GOOG2-00000619           GOOG2-00000619            Google-T-Mobile Amendment No. 9 to the 2023.05.30
  PXR0585                                                          Google Mobile Services Incentive
                                                                   Agreement
                Google_Lit-TMO_00140894 Google_Lit-TMO_00140895 Google-T-Mobile Mobile Revenue Share       2024.03.08
  PXR0610                                                       Agreement Extension
                                                   Google-Verizon
                GOOG2-00000653           GOOG2-00000654           Google-Verizon Amendment Two to the      2023.06.27
  PXR0586                                                         Google Mobile Revenue Share Agreement
                GOOG2-00000665           GOOG2-00000667            Google-Verizon Amendment Three to the   2023.07.28
  PXR0587                                                          Google Mobile Services Incentive
                                                                   Agreement
                GOOG2-00000663           GOOG2-00000664            Google-Verizon Amendment Four to the    2023.09.14
  PXR0588                                                          Google Mobile Services Incentive
                                                                   Agreement
                GOOG2-00000655           GOOG2-00000656            Google-Verizon Amendment Three to the   2023.09.14
  PXR0589                                                          Google Mobile Revenue Share Agreement
                GOOG-DOJ-34925179        GOOG-DOJ-34925180         Google-Verizon Amendment Five to the    2023.11.16
  PXR0590                                                          Google Mobile Services Incentive
                                                                   Agreement
                GOOG2-00000657           GOOG2-00000662            Google-Verizon Amendment Four to the    2023.11.29
  PXR0591                                                          Google Mobile Revenue Share Agreement
                GOOG2-00000695           GOOG2-00000696            Google-Verizon Amendment Five to the    2024.06.24
  PXR0592                                                          Google Mobile Revenue Share Agreement
                VZGGL-REM-0002346        VZGGL-REM-0002366         Google-Verizon Android Mobile Marketing 2024.06.27
  PXR0593                                                          & Services Framework Agreement

                GOOG2-00000689           GOOG2-00000694            Google-Verizon Program Schedule for     2024.06.27
  PXR0594                                                          Android Actives Incentives
                GOOG-DOJ-34925181        GOOG-DOJ-34925185         Google-Verizon Program Schedule #2:     2024.10.29
  PXR0595                                                          Android Marketing Campaign
                GOOG-DOJ-34937263        GOOG-DOJ-34937292         Google-Verizon Google One AI Premium    2025.01.08
  PXR0596                                                          Subscription Resale Agreement
                VZGGL-REM-0002320        VZGGL-REM-0002329         Google-Verizon Amendment Six to the     2025.01.17
  PXR0597                                                          Google Mobile Revenue Share Agreement
                GOOG2-00005073           GOOG2-00005074            Google-Verizon Google Mobile Revenue    2025.04.17
  PXR0609                                                          Share Agreement Waiver Letter
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                                           Google-Yahoo Japan
                GOOG2-00001716     GOOG2-00001771          Google-Yahoo Japan Google Services       2010.07.27
  PXR0598                                                  Agreement
                GOOG2-00001793     GOOG2-00001795            Google-Yahoo Japan Amendment One to    2011.05.31
  PXR0611                                                    Google Services Agreement
                GOOG2-00001786     GOOG2-00001788            Google-Yahoo Japan Amendment Two to    2012.12.21
  PXR0612                                                    Google Services Agreement
                GOOG2-00001702     GOOG2-00001712            Google-Yahoo Japan Renewal One to      2014.10.21
  PXR0599                                                    Google Services Agreement
                GOOG2-00001713     GOOG2-00001715            Google-Yahoo Japan Amendment Three to 2022.10.27
  PXR0613                                                    Google Services Agreement
                GOOG2-00001782     GOOG2-00001785            Google-Yahoo Japan Amendment Four to   2023.10.13
  PXR0600                                                    Google Services Agreement
                GOOG2-00001789     GOOG2-0000178             Google-Yahoo Japan Amendment Five to   2024.05.08
  PXR0614                                                    Google Services Agreement
                                            Microsoft-OpenAI
                MSLIT_0000000705   MSLIT_0000000709        Microsoft-OpenAI Statement of Work #1 - 2019.11.03
  PXR0601                                                  Bing Index Data
                MSLIT_0000000781   MSLIT_0000000783          Microsoft-OpenAI Amendment to License 2023.06.12
  PXR0602                                                    to Bing Web Search API (Letter
                                                             Agreement)
                MSLIT_0000000710   MSLIT_0000000712          Microsoft-OpenAI License to Bing       2023.06.15
  PXR0603                                                    Autosuggest API (Letter Agreement)
                MSLIT_0000000793   MSLIT_0000000797          Microsoft-OpenAI Web Crawling          2023.10.16
  PXR0604                                                    Assistance (Letter Agreement)
                MSLIT_0000000773   MSLIT_0000000775          Microsoft-OpenAI Amended and Restated 2024.03.07
  PXR0605                                                    License to Bing Web Search API (Letter
                                                             Agreement)
